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 1   KATHLEEN McGOVERN
     Senior Deputy Chief
 2   CHARLES LA BELLA
     Deputy Chief
 3   MARY ANN McCARTHY
     Trial Attorney
 4   Fraud Section, Criminal Division
     U.S. Department of Justice
 5   1400 New York Avenue, NW
     Washington, DC 20530
 6   (202) 598-2240

 7   Attorneys for the United States

 8                           UNITED STATES DISTRICT COURT
 9                                     DISTRICT OF NEVADA
10

11   UNITED STATES OF AMERICA,                      )   2:12-cr-00114-JCM-VCF
                                                    )
12                   Plaintiff,                     )
                                                    )
13                   vs.                            )
                                                    )
14   BEN KIM,                                       )   UNOPPOSED MOTION TO
                                                    )   CONTINUE SENTENCING
15                                                  )
                                                    )
16                   Defendant.                     )
                                                    )
17

18            COMES NOW, the United States of America, by and through Kathleen McGovern,

19   Senior Deputy Chief, Charles La Bella, Deputy Chief, and Mary Ann McCarthy, Trial Attorney,

20   U.S. Department of Justice, Criminal Division, Fraud Section, and moves to continue the

21   Sentencing Hearing in the above-captioned matter currently scheduled for October 24, 2012 at

22   10:00am. The Government requests this continuance because the attorneys have scheduling

23   conflicts and will be attending to matters in other jurisdictions. The Government also seeks

24   additional time to properly debrief the defendant prior to his sentencing. The parties respectfully

25   request this Honorable Court continue the Sentencing Hearing for 30-60 days to allow time for the

26   Government attorneys to travel to Las Vegas to debrief and sentence the defendant.
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 1              This is the first request for a continuance of the Sentencing date.

 2              Pursuant to General Order No. 2007-04, this Stipulation is entered into for the following

 3   reasons:

 4              1.    First, the government attorneys are currently scheduled to be in other jurisdictions

 5   on the date of the scheduled sentencing hearing and respectfully request a delay to allow an

 6   attorney to be present at the time of the hearing.

 7              2.    Second, in paragraph 29 of his Plea Agreement, the defendant agreed to cooperate

 8   at the request of the United States in any investigation regarding persons or matters of which the

 9   defendant has knowledge. The defendant had relationships with persons who are currently under

10   investigation for their involvement in a fraudulent scheme to control homeowners associations in

11   the Las Vegas area. The government requests additional time to allow the attorneys to travel to

12   Las Vegas to properly debrief the defendant regarding his knowledge of these persons and matters

13   prior to his sentencing.

14              3.    The defendant’s Plea Agreement affords the defendant potential consideration for a

15   downward departure at the time of sentencing if the defendant has provided substantial assistance

16   to the United States, including the possibility of a United States Sentencing Guideline (U.S.S.G.) §

17   5K1.1 Motion.

18              4.    Counsel for the United States has spoken with counsel for the defendant and he has

19   agreed that the requested continuance is in the interest of justice and does not oppose the

20   continuance sought herein. The defendant is not in custody and will remain at liberty on his

21   personal recognizance.

22              5.    Denial of this request for continuance would deny the parties sufficient time and

23   opportunity to develop the defendant’s cooperation against the related co-conspirators and targets

24   and prepare related cases for prosecution.

25              6.    Furthermore, denial of this request for continuance could result in a miscarriage of

26   justice.


                                                          2
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 1          DATED this _17_ day of October, 2012.

 2

 3                                        DENIS J. McINERNEY
                                          Chief
 4                                        United States Department of Justice,
                                          Criminal Division, Fraud Section
 5
                                                    //s//
 6                                        ____________________________
                                          KATHLEEN McGOVERN
 7                                        Senior Deputy Chief
                                          CHARLES LA BELLA
 8                                        Deputy Chief
                                          MARY ANN McCARTHY
 9                                        Trial Attorney
                                          United States Department of Justice
10                                        Criminal Division, Fraud Section

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 1                            UNITED STATES DISTRICT COURT
 2                                     DISTRICT OF NEVADA
 3

 4   UNITED STATES OF AMERICA,                       )   2:12-cr-00114-JCM-VCF
                                                     )
 5                    Plaintiff,                     )
                                                     )
 6                    vs.                            )
                                                     )   PROPOSED
 7   BEN KIM,                                        )   ORDER - UNOPPOSED
                                                     )   MOTION TO
 8                                                   )   CONTINUE SENTENCING
                      Defendant.                     )
 9                                                   )

10                                          FINDINGS OF FACT

11            Based on the Government’s pending Unopposed Motion to Continue Sentencing, and good

12   cause appearing therefore, the Court hereby finds that:

13            1.    The parties are in agreement to continue the Sentencing date as presently scheduled.

14            2.    This Court is convinced that an adequate showing has been made that to deny this

15   request for continuance, taking into account the exercise of due diligence, would deny the United

16   States sufficient time to be able to effectively debrief the defendant and would bar the defendant from

17   the opportunity to cooperate and potentially receive a downward departure at the time of sentencing.

18   This decision is based on the following findings:

19            a.    The defendant agreed in his plea agreement to cooperate at the request of the United

20   States against persons or in matters in which he has knowledge.

21            b.    The United States agreed to consider a downward sentencing concession for

22   the defendant’s cooperation, including a possible U.S.S.G. 5K1.1 Motion if substantial assistance

23   resulted from such cooperation.

24            c.    In addition, the government attorneys have scheduling conflicts and are not able to

25   travel to Las Vegas for the currently scheduled sentencing hearing.

26            d.    The defendant does not object to the continuance.
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 1           e.    The defendant is out of custody.

 2           3.    For all the above-stated reasons, the ends of justice would be served by

 3   continuing the Sentencing date.

 4                                               ORDER

 5           IT IS THEREFORE ORDERED that the Sentencing date currently set for October 24,

 6                                                                12-3-2012 at 10:00
     2012 at 10:00am, is vacated and the same is continued until ____________, 2012, a.m.
                                                                                     at the hour of

 7   __________ a.m., in Courtroom # __________.

 8

 9       DATED October
               this _____18,
                          day2012.
                              of _____________, 2012.

10

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12                                ________________________________

13                                HONORABLE JAMES C. MAHAN
                                  UNITED STATES DISTRICT JUDGE
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